Case 1:16-cv-11719-MPK Document 185-3 Filed 12/17/21 Page 1 of 2




                EXHIBIT C
DATE          VENDOR                           AMOUNT        REASON
8/23/2016     U.S. District of Massachusetts   $    400.00   Civil filing fee
10/17/2016    Lone Star Attorney Services      $     67.50   Service of civil documents on Defendant Selene
11/4/2017     U.S. District of Massachusetts   $    100.00   Filing fee re: Motion for leave to appear pro hac vice David Chami
2/27/2018     American Airlines                $    443.60   Round trip air flight for deposition of Jessica Edwards
              Hotel                            unknown       no charge
2/28/2018     G&M Court reporters              $    511.25   Deposition of Jessica Edwards
5/15/2018     Janice Russell Transcripts       $    133.10   Transcript of hearing held on 4/30/2018
              Airfare                          unknown       no charge
              Hotel                            unknown       no charge
8/8/2018      Courtyard Houston Int            $    159.00   Conference room rental for deposition of Cathy Oliver
8/8/2018      Hanna & Hanna, Inc.              $    597.63   Deposition of Cathy Oliver

9/10/2018     American Airlines                $    183.20 One way air flight for mediation/settlement conference for David Chami
9/15/2018 -
9/17/2018     American Airlines                $    352.39 Round trip air flight for mediation/settlement conference for support staff
9/15/2018 -
9/17/2018     AC Hotels by Marriott            $    275.45 Hotel room for medtiation/settlement conference support staff
9/15/2018 -
9/17/2018     AC Hotels by Marriott            $    515.03 Hotel room for medtiation/settlement conference

9/17/2018     American Airlines                $     154.99 One way air flight for mediation/settlement conference for David Chami
10/2/2018     Janice Russell Transcripts       $     157.25 Transcript of hearing held on 7/12/2018
                                                            Admission to the 1st Cir. Court due to Selene's notice of interlocutory
12/30/2020 1st Circuit Court of Appeals        $     238.00 appeal
Duration of                                                 Printining, mailing, stationary
civil case  Administrative costs               $     285.00 (Discovery material and trial documents/exhibits)
            TOTAL COSTS                        $   4,573.39
                                                                                                                                         Case 1:16-cv-11719-MPK Document 185-3 Filed 12/17/21 Page 2 of 2
